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  and Superior Foods International, LLC



                   IN THE UNITED STATES BANKRUPTCY COURT

                                  DISTRICT OF OREGON

In re:                                                         Case No. 19-62584-pcml 1
                                                               LEAD CASE
NORPAC Foods, Inc., Hermiston
Foods, LLC, and Quincy Foods,                                 (Jointly Administered with Case
LLC,                                                           Nos. 19-33102-pcmll and
                                                               19-33103-pcm11)
                            Debtors.                    )
                                                        )      OMNIBUS LIMITED OBJECTION TO:
                                                        )     (A)PROPOSED ORDER GRANTING
                                                        )      COBANK,ACB RELIEF FROM THE
                                                        )      AUTOMATIC STAY;(B) CASTLE
                                                        )      ROCK FARMING,LLC'S
                                                        )      EMERGENCY MOTION FOR RELIEF
                                                        )      FROM AUTOMATIC STAY [DOC. 375];
                                                        )      AND (C)SEMINIS VEGETABLE
                                                        )      SEEDS,INC.'S EMERGENCY MOTION
                                                        )      FOR RELIEF FROM AUTOMATIC
                                                        )      STAY [DOC. 377]




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                   Case 19-62584-pcm11               Doc 381         Filed 11/12/19
1           COME NOW, Superior Foods, Inc. ("SF") and Superior Foods International, LLC

2    ("SFI")(SF and SFI are the "Superior Creditors"), by and through undersigned counsel, and file

3    this omnibus limited objection to the (A) Proposed Order Granting CoBank, ACB Relieffrom

4    the Automatic Stay [Docs. 327, Exhibit A] ("CoBank Request"); (B) Castle Rock Farming,

5    LLC's Emergency Motion for Relieffrom the Automatic Stay ("Castle Rock Motion") [Docs.

6    375]; and (C)Seminis Vegetable Seeds, Inc.'s Emergency Motion for Reliefform Automatic Stay

7    ("Seminis Motion") [Does. 377] (together, the "Stay Relief Requests"). In support of their

8    limited objection, Superior Creditors state as follows:

9                                       I.        FACTUAL BACKGROUND

10          1.      Debtors filed their voluntary petition for relief under Chapter 11 of Title 11 of

11   the United States Code (the "Bankruptcy Code")on August 22, 2019(the "Petition Date").

12          2.      Debtors are continuing in possession of their business and property as debtors-

13   in-possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code.

14          3.      Debtors are purchasers of wholesale quantities of produce and licensed under the

15   provisions of the Perishable Agricultural Commodities Act, 7 U.S.C. § 499a, et seq.("PACA").

16   See PACA License Infollnation, attached hereto as Exhibit A.'

17          4.      Superior Creditors' pre-petition PACA trust sales have been paid pursuant to the

18   Order Granting Debtors'Motionfor Authority to Pay Prepetition PACA Claims[Doc. 50].

19          5.      SFI has continued to supply Debtors post-petition. Post-petition, SFI sold and

20   delivered to Debtors, in interstate commerce or contemplation thereof, wholesale quantities of

21   produce having the aggregate principal value of $88,890.00, all of which was accepted by

22   Debtors and will be due and payable as follows:

23   ///

24   ///

25

26   1 PACA license information is published by the USDA's Agricultural Marketing Service at
     htt s://usdaams.service-now.com/ ublic search.


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1               Invoice No.                           Balance                                Due Date
                  435699                             $33,880.00                              11/17/19
2                                                    $27,550.00                              11/21/19
                  435073
3                 435074                             $27,550.00                              11/24/19
             Principal Balance                       $88,980.00
4

5    SFI's PACA license information, statement of account, and unpaid invoices are attached hereto

6    as Exhibit B.

7           6.       SFI is licensed under PACA and timely preserved its interest in the statutory

8    trust arising under PACA by including the statutory language on the face of its invoices to

9    Debtors. 7 U.S.C. § 499e(c)(4). See Exhibits A and B.

10          7.       On September 25, 2019, this Court entered the Amended Final Order Granting

11   Debtors' Motion for Authorization to Obtain Secured Credit (Amended Only for Purpose of

12   Attaching Budget)(the "DIP Order")[Doc. 202]. The DIP Order provides in relevant part that the

13   Post-petition Indebtedness of CoBank "shall be secured by a security interest and lien on all

14   present and future property of the Estates"... "which lien and security interest shall have priority

15   over all other liens, claims and expenses in Debtors' Cases except with respect to the... valid

16   beneficiaries of assets subject to a trust arising under PACA (as defined in the Credit Agreement)."

17   DIP Order ¶ 8(a)(ii)(emphasis added). The DIP Order further provides,

18          PACA. Notwithstanding anything to the contrary contained therein, nothing in
            this Order, any interim order, the Credit Agreement, or the other Loan
19          Documents, shall be construed to prime, subordinate, diminish or impair the rights
            of valid trust beneficiaries under the Perishable Agricultural Commodities Act, 7
20
            U.S.C. § 499e(c) ("PACA"), and nothing contained in this Order, any interim
21          order, the Credit Agreement, or the other Loan Documents shall be construed to
            require that valid PACA beneficiaries must bring a Challenge in order to assert or
22          preserve such rights. In the event of a Specified Sale or a sale of any of the
            Debtors' assets, including in the event of a credit bid, sufficient funds must be set
23          aside to ensure any valid PACA claims which remain unpaid are paid in full.
24   DIP Order ¶ 27.

25          8.       On November 1, 2019, CoBank filed the CoBank Request attesting to certain
26   defaults by the Debtors and requesting immediate lifting of the automatic stay so that CoBank



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                          Case 19-62584-pcm11                Doc 381          Filed 11/12/19
1    can assert all rights available to it under law, including but not limited to appointment of a state

2    or federal receiver. [Doc. 327]. The hearing on the CoBank Request was continued to November

3    12, 2019. Attempts to consensually resolve Superior Creditors' concerns were unsuccessful.

4           9.      Castle Rock Farming, LLC ("Castle Rock") asserts that it is a senior lienholder

5    in "all agriculture produce of NORPAC, all proceeds therefrom, and all other inventory of

6    NORPAC,that is, a senior Lien in a portion of Debtors' assets that CoBank seeks to monetize."

7    Castle Rock Motion ¶ 18. Similarly, Seminis Vegetable Seeds, Inc. ("Seminis") asserts it has a

8    has a "senior Lien in the Grain and proceeds thereof, that is, a senior Lien in a portion of

9    Debtors' assets that CoBank seeks to monetizes." Seminis Motion ¶ 20. In their respective

10   Motions, both filed on November 8, 2019, Castle Rock and Seminis request that they be

11   permitted to pursue all rights and remedies available under applicable law, including against

12   collateral secured by their liens, among other relief. Castle Rock Motion, pp. 5-6; Seminis

13   Motion, pp. 5-6.

14                                                II.     ARGUMENT

15          A. Scope and Purpose of the PACA Trust.

16           10.    PACA is a remedial statute designed to protect sellers of perishable commodities

17   who, without the statute, would lack any way to secure themselves against non-payment by their

18   customers. H. Rep. No. 543, 98th Cong., 1st Sess. 3 (1983), reprinted in 1984 U.S. Code Cong &

19   Admin News ("USCCAN") 405, 407. As a remedial statute, PACA "should be given a liberal

20   construction to effectuate its statutory purpose." Hull Company v. Hauser Foods, Inc., 924 F.3d

21   777, 781 (8th Cir. 1991). In the early 1980's, "Congress determined that the increase in non-

22   payment and delinquent payment by produce dealers threatened the financial stability of produce

23   growers." Frio Ice, SA. v. Sunfruit, Inc., 918 F.2d 154, 156 (11th Cir. 1990). To remedy this

24   problem, Congress amended PACA in 1984 by creating a statutory trust in Section 499e to

25   "increase the legal protection for unpaid sellers and suppliers of perishable agricultural commodities
                                                                                              1st
26   until full payment of sums due have been received by them." H. Rep. No. 543, 981h Cong.,



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1    Sess.(1983), reprinted in 1984 U.S. Code Cong & Admin News 405, 406.

2           11.     The legislative history of PACA, and the cases interpreting the statute, make clear

3    that the claims of secured creditors cannot trump the claims of valid PACA trust creditors. 49

4    Fed. Reg. 45735, 45738 (1984)("While the regulations do not prohibit a buyer or receiver from

5    granting a secured interest in trust assets, they make it clear that the secured interest is secondary

6    and specifically voidable in order to satisfy debts to unpaid suppliers, sellers, or agents in

7    perishable agricultural commodity transactions"); 7 U.S.C. § 499e(c)(1); S & H Packing & Sales

8    Co. v. Tanimura Distrib., 883 F.3d 797, 802(9th Cir. 2018); Nickey Gregory Co., LLC v. Agricap,

9    LLC, 597 F.3d 591, 594 (4th Cir. 2010); A & J Produce Corp. v. Bronx Overall Economic

10   Development Corp., 542 F.3d 54, 58 (2d Cir. 2008); Reaves Brokerage Co. v. Sunbelt Fruit &

11   Vegetable Co., 336 F.3d 410, 413 (5th Cir. 2003); Endico Potatoes v. CIT Group/Factoring, 67

12   F.3d 1063, 1067 (2d Cir. 1995); Tom Lange Co. v. Lombardo Fruit & Produce (In re Lombardo

13   Fruit & Produce Co.), 12 F.3d 806, 809 (8th Cir. 1993)(trust requires debtor to use proceeds from

14   sale of produce to pay suppliers before paying secured creditors).

15           12.     The trust provision requires a produce receiver to hold in trust as a fiduciary its

16   produce-related assets, which includes the produce itself, products derived therefrom, as well as any

17   receivables or proceeds from the sale thereof, until full payment is made to the seller. 7 U.S.C. §

18   499e(c)(2); Sunkist Growers, Inc. v. Fisher, 104 F.3d 280, 282 (9th Cir. 1997); Bear Mountain

19   Orchards, Inc. v. Mich-Kim, Inc., 623 F.3d 163, 166-67(3d Cir. 2010);Idahoan Fresh v. Advantage

20   Produce, Inc., 157 F.3d 197(3d Cir. 1998); In re Kornblum & Co., Inc., 81 F.3d 280(2d Cir. 1996);

21   Sanzone-Palmisano Co. v. M Seaman Enters., Inc., 986 F.2d 1010 (6th Cir. 1993). The trust is

22   non-segregated and floating, and permits the commingling of trust assets without defeating the trust.

23   S & H Packing, 883 F.3d at 802. Therefore, produce buyers need not segregate PACA trust assets

24   from non-PACA trust assets. But, once funds are commingled, such as when a produce buyer

25   deposits proceeds from the sale of produce and proceeds from the sale of non-produce items into

26   the same bank account, every asset acquired or paid for with commingled funds -- including the



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1    commingled funds themselves -- is presumed a PACA trust asset. Sanzone-Palmisano Co., 986

2    F.2d at 1014. Thus, each dollar from the sale of produce is to be held in trust for the benefit of all

3    unpaid produce suppliers, and every item acquired with a produce dollar is presumed a PACA trust

4    asset to be held for the benefit ofthe produce buyer's produce suppliers. Consumers Produce Co. v.

5    Volante Wholesale Produce, 16 F.3d 1374, 1378 (3d Cir. 1994); see In re Kornblum, 81 F.3d at

6    287; Sanzone-Palmisano Co., 986 F.2d at 1012-13; Consumers Produce Co. v. Fredericktown

7    Produce Co., 2015 U.S. Dist. LEXIS 19869, at *20 (W.D.Pa. Feb. 19, 2015) ("This prevents

8    circumvention of the intent of the PACA statute by simply converting cash proceeds into other

9    property to be sold by the trustee or, as in this case, assigning an asset, paid for with agricultural

10   proceeds, to a secured lender and leaving produce sellers unprotected.")

11           13.    Even if the secured lender's interest in the property is pursuant to a purchase

12   money security interest, the use of PACA trust funds to acquire, preserve or maintain an asset

13   has the effect of converting the subject asset itself into a PACA trust asset. Chiquita Fresh N.

14   Am., LLC v. Long Island Banana Corp., 2016 U.S. Dist. LEXIS 88494, at *41 (E.D.N.Y. July 7,

15   2016) adopted by Chiquita Fresh N Am., LLC v. Long Island Banana Corp., 2016 U.S. Dist.

16   LEXIS 99495 (E.D.N.Y. July 28, 2016); Restatement (Second) of Trusts § 202(1); George T.

17   Bogert, Trusts, p. 428 (6th Ed.); III A. Scott, Scott on Trusts, § 202 at 1659 (3d Ed.); American

18   Fruit & Vegetable Co., Inc., 848 F.Supp.2d at 377(W.D.N.Y. 2011)("where a PACA trustee has

19   improperly caused PACA trust funds to be diverted for the purpose of improving or paying for

20   real property, PACA beneficiaries may seek to recover through a lien on the property"); Mid-

21   Valley Produce Corp. v.     4-XXX Produce          Corp., 833 F.Supp. 193 (E.D.N.Y., 1993) (use of

22   PACA trust funds to pay mortgage on home resulted in imposition of constructive trust on home

23   for benefit ofPACA creditors); In re Al Nagelberg & Co., Inc., 84 B.R. 19, 21 (S.D.N.Y. Bankr.,

24   1988)("If, as alleged, there was a wrongful diversion of trust assets, and if those assets can be

25   traced into another asset held by the debtor, the new asset may be impressed with a constructive

26   trust under ordinary trust principles").



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1           14.     Once proceeds from the sale of produce are commingled with other non-produce

2    proceeds, it is "virtually impossible" for the party challenging the scopes of the trust to show that

3    the asset is not a PACA trust asset. Sanzone-Palmisano Co., 986 F.2d at 1014; see also In re

4    Kornblum & Co., Inc., 81 F.3d at 287; Six L.'s Packing Co. v. West Des Moines State Bank, 967

5    F.2d 256, 258 (8th Cir. 1992). Even assets acquired before the sales transactions at issue are

6    presumed PACA trust assets, unless a party challenging the scope of the PACA trust can show: (1)

7    no PACA trust existed when the asset was acquired; or (2) although a PACA trust existed at the

8    time, the asset was not acquired with trust assets; or (3) although a PACA trust existed when the

9    asset was acquired, and the asset was acquired with trust assets, all unpaid sellers of produce were

10   paid in full prior to the transactions involving the unpaid PACA trust creditors herein. In re

11   Kornblum & Co., Inc., 81 F.3d at 287.

12           15.    This is necessarily so, otherwise the last seller of produce would be excluded from

13   access to the PACA trust assets; or, a produce buyer could defeat the trust by converting PACA

14   assets into other assets that are removed from the sale of produce or its proceeds. Therefore, Courts

15   have held that everything from insurance policy proceeds (Fredericktown Produce Co., 2015 U.S.

16   Dist. LEXIS 19869; Sam Wang Produce, Inc. v. EE Mart FC, LLC, 2010 WL 605082 (E.D. Va.

17   2010)), to business property, vehicles, and all business equipment paid for with commingled PACA

18   trust funds (Hereford Haven, Inc. v. Ralph Stevens, 1999 WL 155707 (N.D. Tex 1999)) are PACA

19   trust assets. These holdings also extend to real property of the produce buyer. A&J Produce Corp.,

20   v. Bronx Overall Economic Development Corporation, 542 F.3d 54 (2d Cir. 2008)(proceeds from

21   the sale of units on the Hunts Point Terminal produce market, which were acquired with PACA

22   trust funds, are PACA trust assets); In re Kornblum & Co., Inc., 81 F.3d at 287 (proceeds from the

23   sale of membership interests and leases on real property, paid for with PACA trust assets, are PACA

24   trust assets); Tony Vitrano Company v. National Produce Co., Inc., 815 F. Supp. 23 (D.D.C. 1993)

25   (proceeds from sale of real property, paid for with PACA trust funds, are PACA trust assets); In re

26   Al Nagelberg & Co., 84 B.R. 19 (Bankr. S.D.N.Y. 1988)(payments to co-op impressed with the



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 1   PACA trust).

2            16.    Failure to maintain the trust and make full payment promptly to the trust

3    beneficiaries is unlawful. 7 U.S.C. § 499b(4). Produce dealers are required to maintain trust assets

4    so that they are "freely available" to satisfy outstanding obligations to PACA trust beneficiaries, and

5    any act or omission inconsistent with this responsibility, including dissipation of trust assets, is

6    proscribed. S & H Packing, 883 F.3d at 802; 7 C.F.R. § 46.46(d)(1). Dissipation of trust assets,

7    defined as the diversion of trust assets or the impairment of a seller's right to obtain payment(7

8    C.F.R. § 46.46(a)(2)), is forbidden. 7 C.F.R § 46.46(d)(1)(emphasis added).

9            17.     When a produce buyer files for bankruptcy protection, the PACA trust assets are not

10   part of the debtor's estate. 11 U.S.C. § 541(d); 49 Fed. Reg. 45735, 45738; S & H Packing, 883

11   F.3d at 803; Sunkist Growers v. Fisher, 104 F.3d 280, 282 (9th Cir. 1997)("Ordinary principles of

12   trust law apply to trusts created under PACA,so that for instance the trust assets are excluded from

13   the estate should the dealer go bankrupt."); In re Southland & Keystone, 132 B.R. 632 (9th Cir.

14   BAP 1991); In re Kelly Food Products, Inc., 204 B.R. 18 (Bankr. C.D. Ill. 1997); Morris Okun, Inc.

15   v. Harry Zimmerman, Inc., 814 F. Supp. 346, 348 (S.D.N.Y. 1993).

16           18.    "PACA trust beneficiaries are entitled to full payment before trustees may lawfully

17   use trust funds to pay other creditors." C.H. Robinson Company v. Alanco Corp., 239 F.3d 483, 488

18   (2d Cir. 2001). PACA's trust provision "effectively vitiates a lender's security interest in trust

19   assets held by produce purchasers vis-a-vis unpaid produce suppliers." Volante Wholesale Produce,

20   16 F.3d at 1379. PACA's trust provisions provide that unpaid produce sellers "are placed first in

21   line among creditors for all produce-related assets if the produce dealer declares bankruptcy." Frio

22   Ice, S.A., 918 F.2d 154; see also, In re Kornblum & Co., 81 F.3d 280; Sanzone-Palmisano

23   Company, 986 F.2d 1010. "It is clear from the terms of the PACA amendments and from the

24   supporting legislative history that Congress intended to create a priority status for unpaid produce

25   claimants, priming even the administrative claims which normally stand first in line in a bankruptcy

26   distribution." In re Fresh Approach, Inc., 51 B.R. 412, 420 (Bankr. N.D. Tex. 1985)(emphasis in



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1    original).

2            B. Relief Requested by CoBank. Castle Rock, and Seminis.

3            19.    Here, CoBank asserts that the rights conferred to it in the DIP Order allow it to

4    obtain immediate relief from the automatic stay. CoBank Request, p. 2. CoBank's intentions and

5    the scope of the relief demanded by it are unknown. Castle Rock assets it is a senior lienholder in

6    all of Norpac's agricultural products, proceeds therefrom, and inventory; Seminis asserts it has a

7    senior lien to grain and the proceeds therefrom. Castle Rock Motion ¶ 18; Seminis Motion ¶ 20.

8    But, all assets of the Debtors are presumed to be impressed with the PACA trust. 7 U.S.C. §

9    499e(c)(2). CoBank, Castle Rock, and Seminis cannot be permitted to exercise dominion over,

10   control or take possession of assets impressed with the PACA trust while PACA trust creditors are

11   unpaid. Allowing a secured creditor to take possession of assets impressed with the trust while

12   PACA beneficiaries are unpaid is a violation of PACA. 7 U.S.C. § 499e(c)(1); see In re

13   Kornblum, 81 F.3d at 287. CoBank has conceded that PACA applies to this matter, that its Post-

14   petition Indebtedness is subject and subordinate to the rights of PACA creditors, and the DIP

15   Order specifically provides that the rights of PACA trust creditors are preserved. CoBank has

16   agreed to a forbearance agreement with the Debtors, which was approved by the Court on

17   November 6, 2019, but that agreement expires on November 15, 2019. SFI's outstanding sales to

18   Debtors will be due from November 17-24, 2019. By that time, the forbearance agreement will

19   have expired, and if CoBank, Castle Rock, and Seminis are granted the broad and unfettered relief

20   they request, the disposition of the PACA trust assets belonging to SFI, and similarly situated

21   PACA trust creditors, will be unknown.

22           20.    Allowing relief from the automatic stay, and the exercise of potentially broad

23   remedies by Debtors' secured lenders, without also requiring that PACA trust funds be

24   segregated and paid would violate the requirement that trust funds be maintained such that they

25   are freely available to pay PACA beneficiaries and constitute dissipation of trust funds, which is

26   expressly forbidden. 7 C.F.R § 46.46(d)(1). When there is a threat of dissipation, a court should



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1    direct a "PACA debtor to escrow its proceeds from produce sales, identify its receivables, and

2    inventory its assets." Frio Ice, S.A., 918 F.2d at 159. SFI also recognizes that the $88,890.00 due

3    to it is a small portion of the overall assets in this case and does not wish to interfere with the

4    rights of lienholders in their collateral. But, PACA trust assets are not part of the Debtors'

5    bankruptcy estates and cannot be diverted to lienholders while PACA trust beneficiaries remain

6    unpaid. Accordingly, SFI requests that any relief from the automatic stay also provide that funds

7    be segregated in the amount of unpaid PACA trust claims, and that such amounts be promptly

8    paid to PACA trust creditors in accordance with PACA. 7 U.S.C. § 499b(4).

9                                            IV.       CONCLUSION

10          Based on the controlling law and argument set forth above, Superior Creditors

11   respectfully request that any that any relief from the automatic stay granted by the Court

12   specifically provide that sufficient funds shall be segregated to ensure that PACA trust creditors

13   are paid in full, that such payments be promptly made, and that Superior Creditors be awarded

14   such other and further relief as the Court deems just and proper.

15          Dated: November 11, 2019

16                                                       SUSSMAN SHANK LLP

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18                                                     Jeffrey C. Misley, OSB No. 850674
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19
                                                       and Superior Foods International, LLC
20

21                                                       MCCARRON & DIESS
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22                                                       Co-Counsel for Superior Foods, Inc. and Superior
                                                         Foods International, LLC
23

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            Active with Bankruptcy




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            Address                                                                                   Address
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            City                                                                                      City
            SALEM                                                                                     SALEM

            State                                                                                     State
            OR                                                                                        OR
            Zip                                                                                      Zip
            97302                                                                                    97309




                                                                                                      C3 Formal Complaints
            CI Informal Complaints
                                                                                                     No. of Formal Reparation Complaints
             No. of Informal Reparation Complaints                                                   0
            1                                                                                         No. of Disputed Formal Reparation Complaint
             No. of Disputed Informal Reparation Complaints                                          0
            0                                                                                         Total Formal Claim Amount
                                                                                                      $0.00




           Reported Principal(s)(First & Last Name, Entity Name, Estate or Trust Name)


            STEVE KOCH
             GARY BUTLER
             KEN HENDRICKS
             Caleb Williams
            SHAWN CAMPBELL
             DOUG ZIELINSKI
             DELBERT HAENER
            ALAN KEUDELL
             ROBERT MAY
             GARY COOK
             RICHARD MUNEKIYO
            TOM FESSLER




           Trade Name(s)


             FLAY-R-PAC

htlps-//usdaame.service-now.conVpublicsearch2id=print_entity&sysparm_entity_id=dc4221b8dbbte300BOBd195311961910                                      1/2




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                                        Case 19-62584-pcm11                                           Doc 381                       Filed 11/12/19
9/5/2019                                                                                      Public Search Print - Public Search

            WEST PAC




           Branch(es)


             Branch Name                                                                                            City                             State

             NORPAC FOODS INC                                                                                       BROOKS                           OR

             NORPAC FOODS INC                                                                                       SALEM                            OR




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      Page 2 of 3
                                             Case 19-62584-pcm11                                       Doc 381                      Filed 11/12/19
9/5/2019                                                                                     Public Search - Print - Public Search




           HERMISTON
           FOODS LLC
            a Print

                                                                                                      D Contacts
            0 License
                                                                                                      Phone
            License No.                                                                              (503)480-2100

            Date Issued                                                                               Fax
                                                                                                     (503)480-2199
            Anniversary Date
                                                                                                      Email
            Status
                                                                                                      TIA@NORPAC.COM
            Active
                                                                                                      Web Address




            9 Business Address                                                                       8 Mailing Address

            Address                                                                                   Address
            2250 HVVY 395 SO,                                                                         PO BOX 14444,

            City                                                                                      City
            HERMISTON                                                                                 SALEM

            State                                                                                     State
            OR                                                                                        OR

            Zip                                                                                       Zip
            97838                                                                                     97309




                                                                                                     0 Formal Complaints
            l Informal Complaints                                                                      No. of Formal Reparation Complaints
            No. of Informal Reparation Complaints                                                     0
            0                                                                                          No. of Disputed Formal Reparation Complaint
            No. of Disputed Informal Reparation Complaints                                            0
            0                                                                                         Total Formal Claim Amount
                                                                                                      $0.00




           Reported Principal(s)(First & Last Name, Entity Name, Estate or Trust Name)




           Trade Name(s)




           Branch(es)


             Branch Name                                                                                       City                           State




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9/5/2019                                                                                    Public Search - Print Public Search




           SUPERIOR FOODS
           I NTERNATIONAL
           LLC
            g Print

            O      License                                                                           n Contacts

            License No.                                                                              Phone
            20180851                                                                                 (831) 728-3691

            Date Issued                                                                              Fax
            2018-06-20                                                                               (831) 722-4909

            Anniversary Date                                                                         Email
            2020-06-20                                                                               PAYABLES@SUPERIORFOODS.COM

            Status                                                                                   Web Address
            Active                                                                                   VVWVV.SUPERIORFOODS.COM




            9     Business Address
            Address                                                                                  E3     Mailing Address
            275 WESTGATE DR,
                                                                                                     Address
            City
            WATSONVILLE                                                                              City

            State                                                                                    State
            CA                                                                                       Zip
            Zip
            95076




                                                                                                     0 Formal Complaints
                   I nformal Complaints                                                               No. of Formal Reparation Complaints
            No. of Informal Reparation Complaints                                                    0
            0                                                                                         N o. of Disputed Formal Reparation Complaint
            No. of Disputed Informal Reparation Complaints                                           0
            0                                                                                         Total Formal Claim Amount
                                                                                                      $0.00




           Reported Principal(s)(First & Last Name, Entity Name, Estate or Trust Name)

            DAVID MOORE
            MARCO CRUZ MEYER
            LEWIS LETTUNICH




           Trade Name(s)




           Branch(es)


                Branch Name                                                                                   City                         State



                                                                                                                                                     1/2
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9/5/2019                                                                                      Public Search - Print - Public Search




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      Page 2 of 6
                                             Case 19-62584-pcm11                                        Doc 381                       Filed 11/12/19
11/08/19                                                  Superior Foods International                                                   Page    1
11:46 AM                                               Detail Aging Report As Of 11/08/19
                                                               Based On Due Date
                                                         Numeric Sort From 0605 To 0605


                                 .Order   Terms Type    Future •   Current      ;3.-Days     63 -Days
                                                                                                                  .   . .• • ,
                                                                                                                      1211:3ey6        Balance
 invoMe       Date   PC)Number                                                                          91-NayS,

10605 NORPAC FOODS INC                  (503) 480-2100   LESLIE STEVENS               CREDIT LIMIT:     250,000.00
   0435073 11/21/15 20193875      None'    14,   S   27550.00                                                                         27550.00
   0435074 11/24/19 20193876      None     14    S   27550.00                                                                         27550.00
   0417699 11/17/19 20194161      None     16'   S 33880.00                                                                           33880.00

                                                       88980.00       0.00         0.00         0.00       0.00             0.00      88980.00


                                                       18980.00       0.00         0.00                   •OA0.'             0:00 '   :(4989700:.
           Grand Total:




  EXHIBIT B
  Page 3 of 6




                                 Case 19-62584-pcm11                    Doc 381            Filed 11/12/19
                                                                                                                  i                                                   --\
                                                  Superior Foods International                                     INVOICE                       No. 0437699
                SUPERIOR                                275 WESTGATE DRIVE                 (831) 728-3691            CUSTOMER NO.               INVOICE DATE
                F OODS                                 WATSONVILLE, CA 95076                FAX (831) 728-0926       0605                       10/18/19
                                                                                           (800)445-9999             P.O. No.                   REQUESTED SHIP DATE
                                                                                                                     20194163                   10/15/19
                                                                                                                     TERMS                      SHIP VIA
INVOICE COPY                                                                                                         NET 30 DAYS                DELIVERED
                                                                                                                     FREIGHT TERMS              SALESPERSON
                                                                   SHIP TO                                           PPD SUPERIOR L TERRY
                                                                                                                     F.O.B.
                NORPAC FOODS INC                                                                           SALEM, OR
                P.O. BOX 14444                                                                    LINEAGE LOGISTICS
                SALEM, OR 97309-5012                                                              2525 EWALD ST SE
                                                                                                  SALEM, OR 97302

                BUYER                                    PACK                     PRODUCT                          STYLE              UNIT                 AMOUNT
    U NITS                       LABEL        GRD
                CODE                                     SIZE                    DESCRIPTION                        TYPE             PRICE                      $US


 44000                       A          TOTES                        PEA PODS                                    WHOLE                .7700          33880.00
                              SFI PO 194399




The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c of the Perishable Agricultural
Commodities Act, 1930(7 U.S.C.499e(c)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities, and any receivables or proceeds from the sale of these commodities until full payment is received.

YOU MAY TAKE A DISCOUNT AND REMIT THE NET                            IF PAYMENT HAS BEEN RECEIVED BY              OTHERWISE, PLEASE
OF:                     OF:                                          US ON OR BEFORE:                             PAY FULL INVOICE
                                                                                                                  A MOUNT                          33,880.00
                 .00                    33,880.00                                                                             SUS


NOTE: All claims and deductions for merchandise short or damage will be allowed only when accompanied by an OS&D report properly completed by
delivery carrier or receiving warehouse. A FINANCE CHARGE OF 1.5% per month (18% per year) or the maximum legal rate will be charged on past due accounts.
THE COST OF COLLECTION, including ATTORNEYS FEES, wil be charged on past due accounts whenever such costs are incurred.

                EXHIBIT B
                Page 4 of 6

                                          Case 19-62584-pcm11                        Doc 381           Filed 11/12/19
                                                                                                              (                                                       --'
                                                  Superior Foods International                                 INVOICE                          No. 0435074
                SUPERIOR                                275 WESTGATE DRIVE                 (831) 728-3691            CUSTOMER NO.               INVOICE DATE
                  O ODS                                WATSONVILLE, CA 95076                FAX (831) 728-0926       0605                       10/25/19
                                                                                           (800)445-9999             P.O. No.                   REQUESTED SHIP DATE
                                                                                                                     20193876                   10/20/19
                                                                                                                     TERMS                      SHIP VIA
INVOICE COPY                                                                                                         NET 30 DAYS                DELIVERED
                                                                                                                     FREIGHT TERMS              SALESPERSON
 SOLD TO                                                           SHIP TO                                           PPD SUPERIOR L TERRY
                                                                                 J
                                                                                                                     F.O.B.
                NORPAC FOODS INC                                                                           SALEM , OR
                P.O. BOX 14444                                                                    LINEAGE LOGISTICS
                SALEM, OR 97309-5012                                                              2525 EWALD ST SE
                                                                                                  SALEM, OR 97302

                 BUYER                                   PACK                     PRODUCT                           STYI E            UNIT                 AMOUNT
    U NITS                       LABEL        GRD
                 CODE                                    SIZE                    DESCRIPTION                        TYPE             PRICE.                    $US


  38000                      1-2" Al    TOTES                        BROCCOLI                                    FLORETS              .7250          27550.00
                              SFI PO 19:308
                              40 TOTES




The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c of the Perishable Agricultural
Commodities Act, 1930(7 U.S.C.499e(c)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities, and any receivables or proceeds from the sale of these commodities until full payment is received.

YOU MAY TAKE A DISCOUNT AND REMIT THE NET                             IF PAYMENT HAS BEEN RECEIVED BY             OTHERWISE, PLEASE
OF:                     OF:                                           US ON OR BEFORE:                            PAY FULL INVOICE         40
                                                                                                                  AMOUNT                           27,550.00
                 .00                    27,550.00                                                                             $US

NOTE: All claims and deductions for merchandise short or damage will be allowed only when accompanied by an OS&D report properly completed by
delivery carrier or receiving warehouse. A FINANCE CHARGE OF 1.5% per month (18% per year) or the maximum legal rate will be charged on past due accounts.
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                                          Case 19-62584-pcm11                        Doc 381          Filed 11/12/19
                                                  Superior Foods International                                     INVOICE
                                                                                                                    INVOICE                     No.   0435073
                                                                                                                                                                      - -'
                SUPERIOR                              275 WESTGATE DRIVE                   (831) 728-3691
                rOODS                                WATSONVILLE, CA 95076                  FAX (831) 728-0926
                                                                                                                     CUSTOMER NO.
                                                                                                                     0605
                                                                                                                                                INVOICE DATE
                                                                                                                                                10/22/19
                                                                                           (800)445-9999             P.O. No.                   REQUESTED SHIP DATE
                                                                                                                     20193875                   10/20/19
                                                                                                                     TERMS                      SHIP VIA
I NVOICE COPY                                                                                                        NET 30 DAYS                DELIVERED
                                                                                                                     FREIGHT TERMS              SALESPERSON
 SOLD TO                                                          SHIP TO                                            PPD SUPERIOR L TERRY
                                                                                                                   F.O.B.
                NORPAC FOODS INC                                                                                  \SALEM, OR
                P.O. BOX 14444                                                                    LINEAGE LOGISTICS
                SALEM, OR 97309-5012                                                              2525 EWALD ST SE
                                                                                                  SALEM, OR 97302


                BUYER                        GRD         PACK                     PRODUCT                          STYLE              UNIT                 AMOUNT
    UNITS                        LABEL                                                                                                                          $US
                CODE                                     SIZE                  • DESCRIPTION                       TYPE              PRICE


 38000                       1-2" Al    TOTES                        BROCCOLI                                    FLORETS              .7250         27550.00
                              SFI PO 19:307
                              40 TOTES




The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c of the Perishable Agricultural
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products derived from these commodities, and any receivables or proceeds from the sale of these commodities until full payment is received.

YOU MAY TAKE A DISCOUNT AND REMIT THE NET                            IF PAYMENT HAS BEEN RECEIVED BY             OTHERWISE, PLEASE
OF:                     OF:                                          US ON OR BEFORE:                            PAY FULL INVOICE
                                                                                                                 A MOUNT                           27,550.00
                 .00                   27,550.00                                                                             SUS


NOTE: All claims and deductions for merchandise short or damage will be allowed only when accompanied by an OS&D report properly completed by
delivery carrier or receiving warehouse. A FINANCE CHARGE OF 1.5% per month (18% per year) or the maximum legal rate will be charged on past due accounts.
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 1                                        CERTIFICATE OF SERVICE

2           I, Joanna M. Bolstad, declare as follows:

3           I am employed in the County of Multnomah, state of Oregon; I am over the age of

4    eighteen years and am not a party to this action; my business address is 1000 SW Broadway,

5    Suite 1400, Portland, Oregon 97205-3089, in said county and state.

6           I certify that on November 11, 2019, I served via first class mail, a full and correct copy

7    of the foregoing OMNIBUS LIMITED OBJECTION TO: (A) PROPOSED ORDER

8    GRANTING COBANK, ACB RELIEF FROM THE AUTOMATIC STAY;(B) CASTLE

9    ROCK      FARMING, LLC'S                 EMERGENCY                  MOTION                FOR   RELIEF   FROM

10   AUTOMATIC STAY [DOC. 375]; AND (C) SEMINIS VEGETABLE SEEDS, INC.'S

11   EMERGENCY MOTION FOR RELIEF FROM AUTOMATIC STAY [DOC. 377] to the

12   parties of record, addressed as follows:

13   Alvarez & Marsal North America, LLC
     425 Market St
14   San Francisco, CA 94105
15
     RONALD DAVID PAUL BRUCKMANN
16   Shumaker, Loop & Kendrick, LLP
     101 S Tryon St #2200
17   Charlotte, NC 28280
18   SCOTT CARGILL
19   Lowenstein Sandler LLP
     One Lowenstein Dr
20   Roseland, NJ 07068

21   HM Clause, Inc.
     26 Cousteau Place, Ste. 210
22
     Davis, CA 95618
23
     International Paper Co.
24   6400 Poplar Ave.
     Memphis, TN 38197
25

26   ///



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                                             SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                                   1000 SW BROADWAY,SUITE 1400, PORTLAND, OREGON 97205-3089
                                         TELEPHONE (503) 227-1111 1 FACSIMILE (503) 248-0130

                          Case 19-62584-pcm11                  Doc 381          Filed 11/12/19
CHRISTOPHER M. KIERNAN
Blakeley LLP
18500 Von Karman Ave #530
Irvine, CA 92612

Kurtzman Carson Consultants LLC
222 N Pacific Coast Hwy 3rd Fl
El Segundo, CA 90245

BARRETT MARUM
379 Lytton Ave
Palo Alto, CA 94301-1479

Mohawk Northern Plastics, LLC dba Ampac
701 A. Street NE
Auburn, WA 98002

BRUCE S NATHAN
1251 Avenue of the Americas
New York, NY 10020

JEFFREY D.PROL
Lowenstein Sandler LLP
One Lowenstein Dr
Roseland, NJ 07068

Packaging Corporation of America
1 N. Field Court
Lake Forest, IL 60045

Pension Benefit Guaranty Corp
1200 K. Street, NW
Washington, DC 20005

DENNIS M RYAN
2200 Wells Fargo Center
90 S Seventh St
Minneapolis, MN 55402-3901

MICHAEL R. STEWART
2200 Wells Fargo Ctr
90 S. Seventh St
Minneapolis, MN 55402-3901

/ //


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                                     SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                           1000 SW BROADWAY, SUITE 1400, PORTLAND, OREGON 97205-3089
                                 TELEPHONE (503) 227-1111 1 FACSIMILE (503) 248-0130

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1    SierraConstellation Partners LLC
     400 S Hope St #1050
2    Los Angeles, CA 90071
3
     George Smith
4    9601 Oakmont Lane
     Stayton, OR 97383
5
     Syngenta Seeds, LLC
6    PO Box 18300
7    Greensboro, NC 27419
              I also certify that on November 11, 2019, I served the above-referenced document(s) on
8
     all ECF participants as indicated on the Court's Cm/ECF system.
9
              I swear under penalty of perjury that the foregoing is true and correct to the best of my
10
     knowledge, information, and belief.
11
              Dated: November 11, 2019.
12

13
                                               /s/ Joanna M. Bolstad
14                                             Joanna M. Bolstad, Legal Assistant

15
     `25423-001(03312732)
16

17

18

19

20

21

22

23

24

25

26



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                                             SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                                   1000 SW BROADWAY, SUITE 1400, PORTLAND, OREGON 97205-3089
                                         TELEPHONE (503) 227-1111 1 FACSIMILE (503) 248-0130

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